           Case 1:22-cv-08544-JHR Document 20 Filed 05/10/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                            5/10/2023


AXA AXL,

                                            Plaintiff,                      22-CV-08544 (JHR)(SN)

                          -against-                                                 ORDER

MEDITERRANEAN SHIPPING COMPANY
S.A.,

                                            Defendant.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        On May 9, 2023, the Honorable Jennifer H. Rearden assigned this matter to my docket

for settlement. By May 17, 2023, the parties are directed to email Courtroom Deputy Rachel

Slusher at Rachel_Slusher@nysd.uscourts.gov with three mutually convenient dates to schedule

a settlement conference. Due to the Court’s busy calendar, settlement conferences must generally

be scheduled at least six to eight weeks in advance. The Court will likely be unable to

accommodate last-minute requests for settlement conferences, and the parties should not

anticipate that litigation deadlines will be adjourned in response to late requests for settlement

conferences.

SO ORDERED.



                                                             SARAH NETBURN
                                                             United States Magistrate Judge
DATED:           May 10, 2023
                 New York, New York
